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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    IN RE:                                                       Case No. 22-90273 (MI)

    COMPUTE NORTH HOLDINGS, INC.,                                     CHAPTER 11
    et. al., 1                                                   (Jointly Administered)

                        Debtors.                                     Re: EFC No. 256

                        NEBRASKA PUBLIC POWER DISTRICT’S
             WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 22, 2022

         Creditor Nebraska Public Power District (“NPPD”) respectfully submits the witness and

exhibit list (“List”) for the Hearing scheduled on November 22, 2022 at 2:00 p.m., Central Time

regarding ECF No. 256.

                                            WITNESS LIST

         NPPD may call all of the following witnesses at the Hearing:

         1. Mr. Art Wiese, Vice President, Nebraska Public Power District

         2. Any witnesses called or designated by Compute North Holdings, Inc., and its Debtor

              affiliates (collectively, the “Debtors”) or any other party; and

         3. Any witness necessary to rebut testimony of a witness called or designated by the

              Debtors or any other party.

         Dated this 17th day of November, 2022.




1        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN
Corpus Christi LLC (5551); CN Atoka LLC (4384); CN Big Spring LLC (4397); CN Colorado Bend LLC (4610);
CN Developments LLC (2570); CN Equipment LLC (6885); CN King Mountain LLC (7190); CN Minden LLC
(3722); CN Mining LLC (5223); CN Pledgor LLC (9871); Compute North Member LLC (8639); Compute North
NC08 LLC (8069); Compute North NY09 LLC (5453); Compute North SD, LLC (1501); Compute North Texas
LLC (1883); Compute North TX06 LLC (5921); and Compute North TX10 LLC (4238). The Debtors’ service
address for the purposes of these chapter 11 cases is 7575 Corporate Way, Eden Prairie, Minnesota 55344.

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                                     Respectfully submitted,

                                     HALEY & OLSON, P.C.

                                     By: /s/ Blake Rasner
                                          Blake Rasner
                                          Attorney for Nebraska Public Power District
                                          100 N. Ritchie Road, Suite 200
                                          Waco, Texas 76712
                                          Telephone: (254) 776-3336
                                          Fax No. (254) 776-6823
                                          Bar Card No. 16555700
                                          Email: brasner@haleyolson.com

                                 CERTIFICATE OF SERVICE


       The undersigned certifies that a true and correct copy of the foregoing Witness List has
been served on all parties entitled to service via this Court’s electronic filing system and via
email on November 17, 2022.



                                             /s/ Blake Rasner
                                             Blake Rasner




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 Exhibit No.                                EXHIBIT LIST




                                                                        Objection


                                                                                    Admitted
                                                              Offered
                                 Description                                                   Date
         1         Transmission Facilities Construction
                  Agreement at NPPD’s Minden Station
                           dated February 17, 2022
         2          Agreement for EDR Electric Service
                 Between Compute North NE05, LLC and
                    Southern Public Power District and
                   Nebraska Public Power District dated
                               October 1, 2021
         3        Restated and Amended Agreement for
                     EDR Electric Service Between CN
                 Minden, LLC and Southern Public Power
                    District and Nebraska Public Power
                      District dated February 11, 2022
         4       Amendment No. 1 to Agreement for EDR
                  Electric Service Among Compute North
                  NE05, LLC and Southern Public Power
                    District and Nebraska Public Power
                                   District
        5.       Letter from Andrew Marino to Nebraska
                    Public Power District and Southern
                 Public Power District dated November 9,
                                    2022

               NPPD reserves the right to amend or supplement this List at any time prior to or

during the hearing.




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                                      Respectfully submitted,

                                       HALEY & OLSON, P.C.

                                       By: /s/ Blake Rasner
                                            Blake Rasner
                                            Attorney for Nebraska Public Power District
                                            100 N. Ritchie Road, Suite 200
                                            Waco, Texas 76712
                                            Telephone: (254) 776-3336
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                                            Email: brasner@haleyolson.com

                                   CERTIFICATE OF SERVICE


       The undersigned certifies that a true and correct copy of the foregoing Exhibit List has
been served on all parties entitled to service via this Court’s electronic filing system and via email
on November 17, 2022.

                                       /s/ Blake Rasner
                                       Blake Rasner




4870-5354-3743, v. 1




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